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                    UNITED STATES DISTRICT COURT FOR THE
                             DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA              )
v.                                    )
PATRICK MONTGOMERY,                   )   1:21-cr-00046-RDM-


MOTION TO DISMISS SUPERCEDING INDICTMENT FOR
UNCONSTITUTIONAL RETALIATION
      COMES NOW the Defendant, Patrick Montgomery, by undersigned

counsel, with this motion to dismiss the recent superceding indictment for (1)

unlawful and unconstitutional retaliation against Montgomery for refusing to

accept the government’s plea offer.

Introduction.

      On Jan. 13, 2021, just one week after Jan. 6, the government charged

Montgomery with two misdemeanor crimes: 18 U.S.C. 1752 (a)(1) (Knowingly

Entering or Remaining in any Restricted Building or Grounds) and 40 U.S.C.

5104(e)(2)(G) (Disorderly Conduct on Capitol Grounds). Montgomery was

arrested for doing what hundreds of others did on Jan. 6: entering the U.S. Capitol

and walking around the building in a demonstration over the 2020 presidential

election.
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      Eight days later, on January 21, 2021, the government issued a new

information against Montgomery (ECF #3). The new charging instrument added

three additional misdemeanor charges: “Entering and Remaining in the Gallery of

Either House of Congress,” in violation of 40 U.S.C. § 5104(e)(2)(B)), “Violent

Entry and Disorderly Conduct at the Grounds and in a Capitol Building,” in

violation of 40 U.S.C. § 5104(e)(2)(D)), and “Parading, Demonstrating, and

Picketing in a Capitol Building,” in violation of 40 § 5104(e)(2)(G)).

      The Statement of Facts (ECF#1-1) had not been supplemented, amended, or

altered.

      Four months later, on April 2021, the government issued a superceding

indictment (ECF#23), joining Montgomery with two other defendants and

doubling his charges to ten. As with the five-count information filed on January

21, there were no new factual allegations whatsoever. Yet now Montgomery was

facing up to twenty years in federal prison.

      Throughout the months that followed, Montgomery was subjected to varying

and often increasing conditions of home confinement, impositions of ankle

monitoring, and other conditions. (Again, all apparently based on the facts

described in the Statement of Facts filed on January 13.)
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      On December 1, 2021, a second superceding indictment was filed (to fix the

false representation in the earlier indictment that Vice-President-Elect Harris was a

victim of Montgomery on Jan. 6 (ECF #74). The government faced no inquiry, no

sanctions, and no investigation regarding its earlier, false, sworn assertions to

federal grand juries.

      Then on August 19, 2022, the government issued a third superceding

indictment, adding an additional count against codefendants and thus bringing the

total to eleven counts (ECF #115).

      This was Montgomery’s fifth (5th) charging instrument. A docket journey

that began with two misdemeanors for going inside the Capitol on Jan. 6 is now a

major prosecution of ten charges, including one charge carrying a potential 20

years in prison.

There is a pattern of the United States significantly increasing charges upon
Jan. 6ers who turn down plea offers.
      The government’s response to Montgomery is the tip of an iceberg. It

appears to be the regular practice of federal prosecutors in Jan. 6 cases. See, e.g.,

United States v. Speed, 22-cr-244 (TNM), United States v. Miller, 21-cr119

(CJN), United States v. Barnett, 21-cr-38 (CRC), United States v. Irwin, 21-cr-589

(RDM); United States v. Kelly, 21cr 708, United States v. Pezzola; United States v.

Ryan Samsel; United States v Neely, United States v. Mark Sahady, United States
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v. Rachael Powell, United States v. Deborah Lee, United States v. Christopher

Alberts, United States v. Kenneth Joseph Thomas.

      Legal standard.
The government cannot retaliate against defendants for exercising a
constitutional right.
             It is a violation of the due process clause for the government to

retaliate against defendants who choose to exercise their constitutional rights. In

United States v. Velsicol Chemical Corp., 498 F. Supp. 1255 (D.D.C. 1980), Judge

Parker ordered dismissal of an indictment used as retaliation by the DOJ against a

defendant where the United States threatened the defendant with new charges if the

defendant didn’t plead guilty. The defendant angered federal prosecutors by

declining to plead guilty; instead pleading no contest and refusing to ‘confess’ to

the allegations.

      Vindictiveness principles are triggered when a prosecutor without notice

increases the possible sanction severity for no valid reason after the defendant has

exercised a procedural right. (See United States v. Andrews (6th Cir. 1980), 633

F.2d 449 (6th Cir. 1980) (en banc); United States v. Ruesga-Martinez (9th Cir.

1976), 534 F.2d 1367; United States v. Gerard (9th Cir. 1974), 491 F.2d 1300;

United States ex rel. Williams v. McMann (2d Cir. 1970), 436 F.2d 103, cert.

denied (1971), 402 U.S. 914 (1971).
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         In this case, significantly, the new “obstruction of an official proceeding”

allegation is presumptively (and, in fact, plainly) retaliatory, given that the charge

is based on no new information or evidence whatsoever. Prosecutors have said

simply that “the government’s understanding of the evidence evolved.”

         (Compare North Carolina v. Pearce (1969), 395 U.S. 711, and Blackledge

v. Perry (1974), 417 U.S. 21, with Colten v. Kentucky (1972), 407 U.S. 104, and

Chaffin v. Stynchcombe, 412 U.S. 17 (1973). There is also the appearance of

vindictiveness when mysterious new felony charge are piled onto defendant

Montgomery’s charges after Montgomery turned down the government’s plea

offer.

         In North Carolina v. Pearce, 395 U.S. 711 (1969), the Supreme Court

considered whether a person convicted upon retrial after his initial conviction was

set aside on appeal could properly be given a sentence greater than the sentence

received upon his initial conviction. The court concluded that an increased

sentence upon reconviction would run afoul of constitutional due process

requirements unless the increase was justified by an on-the-record statement by the

sentencing court providing “objective information concerning identifiable conduct

on the part of the defendant occurring after the time of the original sentencing

proceeding.” 395 U.S. at 726.
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      The holding of the court in Pearce was not restricted to actual vindictiveness

but extended to the potential chilling effect on the exercise of appellate rights

created by the appearance of vindictiveness stemming from enhancement of a

sentence upon retrial:

        Due process of law, then, requires that vindictiveness against a
        defendant for having successfully attacked his first conviction must
        play no part in the sentence he receives after a new trial. And since
        the fear of such vindictiveness may unconstitutionally deter a
        defendant's exercise of the right to appeal or collaterally attack his
        first conviction, due process requires also that a defendant be freed
        of apprehension of such a retaliatory motivation on the part of the
        sentencing court.


395 U.S. at 725 (footnote omitted).

      The rule of Pearce was extended to vindictive conduct on the part of

prosecutors five years later in Blackledge v. Perry, 417 U.S. 21 (1974). There,

petitioners were convicted of misdemeanors after state district court trials in North

Carolina. They then asserted their right to trial de novo in superior court. Felony

charges were thereupon substituted by the prosecution, and petitioners were

convicted of those charges.

      After discussing Pearce and two subsequent cases dealing with the issue of

judicial vindictiveness-- Colten v. Kentucky, 407 U.S. 104 (1972), and Chaffin v.

Stynchcombe, 412 U.S. 17 (1973)--the court in Blackledge found:
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        The lesson that emerges from Pearce, Colten, and Chaffin is that
        the Due Process Clause is not offended by all possibilities of
        increased punishment upon retrial after appeal, but only by those
        that pose a realistic likelihood of ‘vindictiveness.’


417 U.S. at 27 (emphasis added).

      Because the mere appearance of vindictiveness may deter a defendant from

challenging the lawfulness of his conviction, due process concepts prohibit the

state from “upping the ante.” The rule applies whenever the prosecution has

knowledge of the facts essential to the more serious charge at the time of the

original indictment. “Absent an adequate justification for the superseding or

additional charges, vindictiveness will be presumed.” Dyer v. State, 666 P.2d 438,

443 n.2 (Ak. 1983) (citations omitted). It is insufficient for the prosecution merely

to establish the lack of actual malice; instead, a prima facie showing of

vindictiveness must be rebutted by “negating the possibility of vindictiveness.”

United States v. Velsicol Chemical Corp., 498 F. Supp. at 1265. Thus, the Court of

Appeals for the Sixth Circuit, sitting en banc, has recently held:

        We emphasize that once a court has found the existence of a
        realistic likelihood of vindictiveness the burden of disproving it is
        on the government . . . . We do not think that judges should pass on
        subjective good faith assertions by prosecutors. Both Pearce and
        Blackledge went out of their way to avoid such difficult and
        unpleasant decision-making. At the same time, in Blackledge the
        court noted in a footnote that ‘this would clearly be a different case
        if the state had shown that it was impossible to proceed on the more
        serious charge at the outset.’ From this, we think that only
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       objective, on-the-record explanations can suffice to rebut a finding
       of realistic likelihood of vindictiveness.


United States v. Andrews, 633 F.2d at 456 (footnote and citation omitted).

      The additional charges alleged against Montgomery add additional potential

decades in prison. As the district court in United States v. DeMarco so aptly

stated, ‘the day our constitution permits prosecutors to deter defendants from

exercising any and all of their guaranteed rights by threatening them with new

charges fortunately has not yet arrived.’ 401 F. Supp. 505, 510 (C.D. Cal. 1975),

aff'd 550 F.2d 1224 (9th Cir. 1976), cert. denied, 434 U.S. 827 (1977).

The government’s Statement of Offense regarding Montgomery does not
support charges for obstructing an official proceeding.
      Moreover, the Statement of Offense on file in this case does not evidence

any support to charge Montgomery with obstruction of an official proceeding.

Nothing in the description remotely suggests Montgomery committed any

crime; let alone that Montgomery corruptly obstructed any official

proceedings.
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      Montgomery is being punished by the government for declining to accept

the government’s plea offer. Accordingly, this indictment must be dismissed with

prejudice.

 Date: July 17, 2023                          Respectfully Submitted,
                                                /s/ John M. Pierce
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CERTIFICATE OF SERVICE
I hereby certify that on July 17, 2023, a true and accurate copy of the forgoing was
electronically filed and served through the ECF system of the U.S. District Court
for the District of Columbia.
